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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 ADAM KOKESH                                          CIVIL ACTION

 VERSUS                                               NO.

 KEVIN CURLEE, KEVIN REEVES, in his
 official capacity as Superintendent of the
 Louisiana State Police, and LEON
 CANNIZZARO, JR., in his official capacity
 as Orleans Parish District Attorney


                                         COMPLAINT

       NOW COMES Complainant, Adam Kokesh, a person of the full age of majority residing in

the State of Arizona, who respectfully represents as follows:

                                                1.

       Made Defendants herein are the following:

       A.      KEVIN CURLEE, a person of the full age of majority who was at all times

               material hereto acting under color of law as a Sergeant in the Louisiana State

               Police.

       B.      KEVIN REEVES, in his Official Capacity as the Superintendent of the

               Louisiana State Police, a person of the full age of majority who was at all times

               material hereto responsible for the Louisiana State Police’s enforcement of

               Louisiana law.

       C.      LEON CANNIZZARO, JR., in his Official Capacity as Orleans Parish

               District Attorney, a person of the full age of majority who was at all times material

               hereto responsible for prosecuting persons alleged to have violated Louisiana law

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               in Orleans Parish, State of Louisiana.

                                                  2.

       Jurisdiction is proper in this Honorable Court pursuant to 28 U.S.C §§ 1331, 1332, 1367,

and 2201, inasmuch as this matter concerns citizens of diverse states and arises in part under 42

U.S.C. §1983, et seq., the United States Constitution, including the First, Fourth, Fifth, and

Fourteenth Amendments, and Louisiana state law, including claims under Louisiana Constitution

Article I, §§ 2, 5, 7, 9, and 13, and Louisiana Civil Code Articles 2315, 2316, and other applicable

law.

                                                  3.

       Venue is proper in this Honorable Court in part pursuant to 28 U.S.C §1391 as a substantial

part of the events or omissions giving rise to the claim occurred within the Eastern District of

Louisiana.

                              Background and Factual Allegations

                                                  4.

       Adam Kokesh is a Libertarian candidate for President of the United States; a member of

Iraq Veterans Against the War; and an activist in favor of the freedom of speech, the right to keep

and bear arms, the right to peaceably assemble, the right to petition the government for a redress of

grievances, the right to counsel, the right to remain silent, the right against self-incrimination, and

all other natural rights and aspects of individual liberty, individual responsibility, and individual

autonomy, that this nation was established to protect.




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                                                5.

        Kokesh has travelled throughout the United States speaking, engaging in demonstrations,

engaging in civil disobedience, and otherwise advocating in favor of maximum liberty and

self-ownership for individuals and against the coercive power of government to control all aspects

of individuals’ lives.

                                                6.

        In January 2019, Kokesh was in New Orleans, Louisiana, promoting his book

FREEDOM!, which he had delivered to all addresses in New Orleans.

                                                7.

        On January 2, 2019, Kokesh was one of two passengers in a motor vehicle operated by a

third person and stopped on the shoulder of Interstate 10 in New Orleans.

                                                8.

        Louisiana State Police Sgt. Kevin Curlee stopped his vehicle behind the vehicle in which

Kokesh had been riding and ordered Kokesh and the driver to get in their vehicle.

                                                9.

        Curlee then ordered the other passenger to remain outside and stand in front of Curlee’s

headlights.

                                               10.

        Curleee then handcuffed the other passenger and accused him of spray-painting the wall

adjacent to the shoulder of the roadway.




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                                                      11.

        After examining the wall, Curlee acknowledged that the handcuffed passenger had not

been spray-painting the wall as Curlee had initially thought but instead had used water and a

stencil to clean a portion of the dirty wall, leaving behind an image of the word “FREEDOM!”

                                                      12.

        After Curlee established for himself that no vandalism had taken place, the handcuffed

passenger asked Curlee, “What’s going to happen now?”

                                                      13.

        Curlee responded that he would be letting everyone go.

                                                      14.

        Curlee then retrieved his keys and began to uncuff the passenger.

                                                      15.

        As Curlee did so, he noticed that Kokesh was video recording the encounter.

                                                      16.

        At that point, Curlee’s demeanor changed and he asked the handcuffed passenger, “You

guys do this for attention? Filming cops for attention?” or words to that effect.1

                                                      17.

        Curlee then ordered the driver to get out of the vehicle and walked to the driver’s door

while Kokesh remained sitting in the front passenger seat, recording the encounter.




1 The exact words spoken by and to Curlee throughout the encounter are believed to have been recorded on Curlee’s
body camera.
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                                               18.

       Curlee then demanded documents from Kokesh, saying, “You got your ID on you, bro?

Let me see your ID. This is what y’all do? You videotape the police? Let me see your driver’s

license bro?”

                                               19.

       At no time did Curlee ever ask Kokesh to state his name or to otherwise state his identity.

                                               20.

       Kokesh invoked his rights to counsel and to remain silent and told Curlee that he did not

consent to a search of any kind.

                                               21.

       Curlee responded, “Let me see your driver’s license, sir.”

                                               22.

       Curlee then walked back to his vehicle and turned on bright spotlights pointed at Kokesh’s

camera.

                                               23.

       Thereafter, another Louisiana State Police trooper arrived and ordered Kokesh to get out of

the vehicle, unplug his camera, and walk to the back of the vehicle.

                                               24.

       Curlee asked Kokesh again, “You got your ID on you?”

                                               25.

       Curlee then told Kokesh, “In just a minute you are going to be put in handcuffs and we’re

going to find out who you are or you can comply and do it the right way.”


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                                                26.

       As Curlee began to handcuff Kokesh, Kokesh gave his camera to the driver.

                                                27.

       Curlee told the driver to turn off the camera.

                                                28.

       Curlee handcuffed Kokesh and told him that he was under arrest.

                                                29.

       At some point thereafter, Curlee had the driver obtain Kokesh’s driver’s license from the

driver’s vehicle and deliver it to Curlee.

                                                30.

       Curlee accused Kokesh of resisting an officer in violation of La. R.S. 14:108(B)(1)(c) and

took him to the Harbor Police Substation. From there, Curlee and other officers transported

Kokesh to jail.

                                                31.

       Curlee removed Kokesh from the Harbor Police Substation with the help of other officers

by carrying Kokesh face-down, holding Kokesh by the arms and legs, while his hands remained

cuffed behind his back.

                                                32.

       Before putting Kokesh in a squad car for transport to jail, Curlee and the others dropped

Kokesh face-first onto the floor, causing Kokesh’s head to hit the floor with great force, and

causing Kokesh intense pain, facial swelling, and concussion-like symptoms including dizziness

and disorientation.


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                                                  33.

       Curlee transported Kokesh to the Orleans Parish jail where he remained without adequate

medical treatment until his release days later.

                                                  34.

       On information and belief, the charges initiated by Curlee against Kokesh were rejected by

the Orleans Parish District Attorney.

                                                  35.

       As a result of Curlee’s conduct set forth above, Kokesh sustained physical pain and

suffering, mental and emotional outrage and distress, loss of enjoyment of life, and other damages

as will be shown at trial, for which the law provides relief on the following non-exclusive bases:

                          I.      False arrest and false imprisonment.

                                                  36.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                                  37.

       Curlee arrested Kokesh for resisting an officer in violation of La. R.S. 14:108(B)(1)(c).

                                                  38.

       Louisiana Revised Statute 14:108 provides in pertinent part:

       §108. Resisting an officer

               A. Resisting an officer is the intentional interference with, opposition or resistance

       to, or obstruction of an individual acting in his official capacity and authorized by law to

       make a lawful arrest, lawful detention, or seizure of property or to serve any lawful process

       or court order when the offender knows or has reason to know that the person arresting,


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       detaining, seizing property, or serving process is acting in his official capacity.

               B.(1) The phrase "obstruction of" as used herein shall, in addition to its common

       meaning, signification, and connotation mean the following:

              (c) Refusal by the arrested or detained party to give his name and make his identity

       known to the arresting or detaining officer or providing false information regarding the

       identity of such party to the officer.

                                                39.

       Curlee arrested Kokesh even though Kokesh never refused to give his name and make his

identity known.

                                                40.

       Curlee arrested Kokesh despite never asking Kokesh to state his name and make his

identity known.

                                                41.

       Instead, Curlee claimed that he arrested Kokesh because Kokesh failed to produce

documents that Curlee demanded.

                                                42.

       Further, even when a police officer conducts a valid traffic stop, he must have

independent reasonable suspicion of criminal activity in order to prolong the traffic stop.

Rodriquez v. United States, 135 S.Ct. 1609 (2015).

                                                43.

       Curlee had no independent reasonable suspicion to prolong the traffic stop in this case

beyond the point at which he told the other passenger that he was letting him, the driver, and


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Kokesh go.

                                                    44.

        A police officer may not lawfully order a person to identify himself absent particularized

suspicion that the person has engaged in, is engaging in, or is about to engage in, criminal

activity.     Brown v. Texas, 443 U.S. 47 (1979).

                                                    45.

        Curlee had no particularized suspicion that Kokesh had engaged in, was engaging in, or

was about to engage in, criminal activity and thus Curlee could not lawfully order Kokesh to

identify himself.     Curlee had already said that he was letting them go.

                                                  46.

            Curlee is liable unto Kokesh as a matter of Louisiana law for his false arrest, unlawful

detention, and false imprisonment of Kokesh.

                                    II.    Unreasonable seizure.

                                                    47.

        Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                                  48.

        Curlee is liable unto Kokesh for the unreasonable seizure of Kokesh without reasonable

suspicion, probable cause, arguable probable cause, or any legal justification whatsoever, in

violation of Kokesh’s rights guaranteed by the Fourth Amendment to the United States

Constitution and Article I, § 5, of the Louisiana Constitution.




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                                                49.

       Curlee is further liable unto Kokesh for the unreasonable seizure of Kokesh’s driver’s

license without reasonable suspicion, probable cause, arguable probable cause, or any legal

justification whatsoever, in violation of Kokesh’s rights guaranteed by the Fourth Amendment to

the United States Constitution and Article I, § 5, of the Louisiana Constitution.

                                       III.    Kidnapping.

                                                50.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                                51.

       Curlee is liable unto Kokesh for kidnapping in violation of La. R.S. 14:44.1 and 14:45

inasmuch as he forcibly seized and carried Kokesh from one place to another without his consent,

while armed with a dangerous weapon, and without probable cause, arguable probable cause, or

any legal justification whatsoever.

                                         IV.     Battery.

                                                52.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                                53.

       Curlee is liable unto Kokesh for battery as a matter of Louisiana law inasmuch as he

forcibly seized and handcuffed Kokesh without Kokesh’s consent and without legal justification.

                                                54.

       Curlee is further liable unto Kokesh for battery as a matter of Louisiana law inasmuch as he

dropped Kokesh face-first to the ground either intentionally or with deliberate or reckless


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indifference to Kokesh’s health and safety.

                         V.     Excessive and unreasonable use of force.

                                               55.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                               56.

       Curlee’s battery of Kokesh also constituted the excessive and unreasonable use of force

against Kokesh – who was not reasonably suspected of having committed any crime and against

whom the use of any force was unreasonable - in violation of the Fourth Amendment of the United

States Constitution.

                                 VI.    Malicious prosecution.

                                               57.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                               58.

       Curlee initiated charges against Kokesh without probable cause and Curlee’s charges were

terminated in Kokesh’s favor.

                                               59.

       Accordingly, Curlee is liable unto Kokesh for malicious prosecution as a matter of

Louisiana law.

                                               60.

       Further, Curlee’s malicious prosecution of Kokesh was accompanied by and prompted the

violation of Kokesh’s rights protected by the United States Constitution, including his unlawful

seizure and detention.


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                                                61.

       Accordingly, Curlee is liable unto Kokesh for malicious prosecution as a matter of federal

law, actionable under 42 U.S.C. §1983.

                              VII.    First Amendment retaliation.

                                                62.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                                63.

       Curlee’s demands that Kokesh produce ID and a driver’s license were not reasonably

related in scope to any circumstances which might have justified Curlee’s detention of the other

passenger or the driver of the vehicle in which Kokesh was sitting.

                                                64.

       Instead, Curlee arrested and seized Kokesh in retaliation for Kokesh’s use of a camera to

record Curlee’s public activities in a public place, despite Kokesh’s right to do so protected by the

First Amendment and by Article I, §§ 7 and 9, of the Louisiana Constitution.

                                                65.

       Further, Kokesh’s right to video record Curlee and other police officers engaged in public

activities in a public place was clearly established at the time Curlee retaliated against Kokesh for

doing so. Turner v. Lt. Driver, 848 F.3d 678 (5th Cir. 2017).

                                                66.

       Curlee is liable unto Kokesh for retaliating against Kokesh’s exercise of clearly established

rights guaranteed by the Constitutions of the United States and the State of Louisiana.




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                       VIII. Intentional infliction of emotional distress.

                                                 67.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                                68.

       The conduct of Curlee was extreme and outrageous and caused Kokesh severe outrage and

severe emotional distress.

                                                69.

       Curlee desired to inflict severe emotional distress on Kokesh or knew that severe emotional

distress would be certain or substantially certain to result from his conduct.

                                                70.

       Accordingly, Curlee is liable unto Kokesh for intentional infliction of emotional distress.

                                     IX.    Declaratory relief.

                                                 71.

       Kokesh re-avers and re-allege the foregoing allegations of this Complaint.

                                                 72.

       Louisiana Revised Statute 14:108(B)(1)(c) is unconstitutional on its face and as applied to

Kokesh in this case.

                                                73.

       Louisiana Revised Statute 14:108(B)(1)(c) makes it a crime for a person who has been

lawfully arrested or detained to refuse to give both his name and to “make his identity known to the

arresting or detaining officer[.]”




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                                                 74.

       Louisiana law does not define how a person lawfully detained is to “make his identity

known” and what, if anything, that entails in addition to stating his name.

                                                 75.

       There are no standards governing the exercise of the discretion granted by the statute to

police officers to decide what “make his identity known” means, and thus the statute permits and

encourages an arbitrary and discriminatory enforcement of the law.

                                                 76.

       When a statute fails to give a person of ordinary intelligence fair notice that his

contemplated conduct is forbidden by the statute, it must be stricken for unconstitutional

vagueness. Kolender v. Lawson, 461 U.S. 352 (1983).

                                                 77.

       Louisiana Revised Statute 14:108(B)(1)(c) is void for vagueness.

                                                 78.

       In some states and in some circumstances a person may be required to respond to a police

officer’s demand to state his name and may be arrested if he does not. Hiibel v. Sixth Judicial

Court of Nevada, 542 U.S. 177 (2004).

                                                 79.

       Louisiana is not such a state.

                                                 80.

       In Louisiana, the right to remain silent, the right against self incrimination, and the right to

the assistance of counsel, attach not only when a person has been arrested but when he has been


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detained.

                                                   81.

        Thus, Louisiana Constitution Article I, § 13 provides in part, “When any person has been

arrested or detained in connection with the investigation or commission of any offense, he shall be

advised fully of the reason for his arrest or detention, his right to remain silent, his right against self

incrimination, [and] his right to the assistance of counsel[.]”

                                                   82.

        Insofar as La. RS. 14:108(B)(1)(c) authorizes a police officer to compel an arrested or

detained person state his name, the statute violates Article I, § 13 of the Louisiana Constitution.

                                                   83.

        To the extent La. RS. 14:108(B)(1)(c) authorizes a police officer to demand – without a

warrant and without probable cause - that a detained person provide documents under pain of

arrest, the statute violates Article I, § 13 of the Louisiana Constitution and the Fourth Amendment

of the United States Constitution.

                                                   84.

        Further, stating one’s name can be incriminatory. California v. Byers, 402 U.S. 424, 448,

460, 464 (1971).

                                                   85.

        Likewise, the compelled production of documents containing factual information

regarding one’s identity may be incriminating.




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                                                86.

       Providing any false information regarding one’s identity is itself criminalized by La. R.S.

14:108(B)(1)(c).

                                                87.

       Further, the false information need not be provided with the intent to deceive, it need only

be erroneous or incorrect to be criminal.

                                                88.

       Indeed, the New Orleans municipal code provides as to false identification, “No person

shall misrepresent his or her name, age or residence by use of any identification card, birth

certificate, or similar identification containing any false, erroneous or incorrect information[.]”

Code of the City of New Orleans, Sec. 54-487(a).

                                                89.

       Inasmuch as La. RS. 14:108(B)(1)(c) authorizes a police officer to demand – without a

warrant and without probable cause - that a detained person state his name and provide identifying

documents under pain of arrest, the statute violates Article I, § 13 of the Louisiana Constitution

and the Fifth Amendment of the United States Constitution.

                                                90.

       This Honorable Court should therefore declare La. RS. 14:108(B)(1)(c) to be an

unconstitutional violation of the Fourth, Fifth, and Fourteenth Amendments of the United States

Constitution and of the Louisiana Constitution, Article I, §§ 2 and 13.




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                                     X.     Injunctive relief.

                                                91.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.

                                                92.

       Kokesh intends to continue his activism in Louisiana, intends to continue to rely upon and

invoke his rights guaranteed by the state and federal constitutions, and therefore intends to

continue to violate the unconstitutional strictures of La. R.S. 14:108(B)(1)(c).

                                                93.

       Accordingly, Kokesh faces the real, imminent, and certainly impending possibility of

prosecution for violations of La. R.S. 14:108(B)(1)(c).

                                                94.

       Further, Kokesh still faces the real possibility of prosecution for the violation of La. R.S.

14:108(B)(1)(c) alleged by Curlee in that Louisiana law allows District Attorney Cannizzaro to

institute a prosecution against Kokesh up to two years after the alleged offense. La. Code Crim.

Pro. Art. 572(A)(3).

                                                95.

       Because La. RS. 14:108(B)(1)(c) is unconstitutional, this Honorable Court should enjoin

Defendants Curlee, Reeves, and Cannizzaro, from any future enforcement of the statute, either

against Kokesh or others.

                                    XI.     Punitive Damages

                                                96.

       Kokesh re-avers and re-alleges the foregoing allegations of this Complaint.


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                                                97.

        All reasonable public officials are deemed to know the well-settled law they enforce and

the constitutionally-protected rights they have sworn to uphold.

                                                98.

        The above-described conduct of Curlee was extreme and outrageous, and done either

maliciously or with reckless indifference to Kokesh’s rights.

                                                99.

        Curlee is liable unto Kokesh for punitive and/or exemplary damages as a matter of federal

law.

                                          Jury Demand

                                                100.

        Kokesh demands a trial by jury for all claims and issues so triable.

                                        Prayer for Relief

        WHEREFORE, Complainant, Adam Kokesh, prays that this Complaint be deemed good

and sufficient and that after due proceedings are had, judgment be rendered on behalf of Kokesh

and against Defendants, Kevin Curlee, Kevin Reeves in his official capacity as Superintendent of

the Louisiana State Police, and Leon Cannizzaro, Jr., in his official capacity as Orleans Parish

District Attorney, for the following damages:

        A.             Past and future mental and emotional distress and outrage;

        B.             Past and future, loss of enjoyment of life;

        C.             Past and future physical pain, suffering, and disability;

        D.             All costs, expenses, and attorney’s fees associated with the false arrest and


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                      malicious prosecution;

       E.             Attorney’s fees and costs associated with this lawsuit;

       F.             Punitive damages;

       G.             Exemplary damages;

       H.             Interest on all damages, costs, attorney’s fees, and other elements of

                      recovery to the fullest extent allowed by laws of Louisiana and the United

                      States.

       Kokesh additionally prays for a declaration that La. R.S. 14:108(B)(1)(c) is

unconstitutional and for an injunction against its further enforcement by Defendants. Kokesh

further prays for all other damages and legal and equitable relief to which he may be entitled.



                                      Respectfully submitted:

                                      /s/ Kearney S. Loughlin
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                                      Adam Kokesh




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